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Rupert Anyaegbunam                                                     ?i7/ j,4
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dO P0 Box 1419, Passaic, New Jersey, 07055

Email:Reajr264@gmail.com

Date: 01/17/22



Civil Action No: 21-13409

Subject: Change of Address

Dear Sir/Madam,

This letter is to inform you that I am moving to a new address. I kindly request you to update your
records with my new address for all future communications.

Current Address: 45 Aspen P1 6A, Passaic, New Jersey 07055

New Address: C/O P.O. Box 1419, Passaic, New Jersey 07055
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